                     EXHIBIT B




{00464328.DOCX; 4}
                  COHEN TAUBER SPIEVACK & WAGNER PC
                                  420 Lexington Avenue
                                       Suite 2400
                                  New York, NY 10170

November 15, 2021

CGPN, LLC
c/o Big Shoulders Capital Growth LLC
105 Revere Drive – Suite D
Northbrook, IL 60062

Attention: David Muslin
                                                                   Invoice #: 151837
                                                                   File #:    1945.032

RE:    Aluminum Shapes, L.L.C. Asset Purchase



For services rendered and expenses incurred for CGPN, LLC as the stalking horse bidder in
connection with the above-caption matter, including, without limitation: review, revise and
negotiate the Asset Purchase Agreement and the schedules thereto, draft the First Amendment
to the Asset Purchase Agreement and the Second Amendment to the Asset Purchase
Agreement; review title policies and amendment, order title commitment and attend to title
commitment objection matters; review and revise pleadings; prepare for and attend court
hearings on 10/7/21, 11/4/21 and 11/12/21; prepare for and attend auction in Pennsauken, NJ;
and, telephone calls and correspondence with client, debtor’s counsel and other interested
parties in the case.


                                   Timekeeper Summary

 Timekeeper                   Hours                        Total
 Robert A. Boghosian          104.6                        $73,743.00

                                      Expense Summary

 Transportation (Subway, Taxi, Train, etc.)                 $262.95
 CourtSolutions Telephonic Court Hearings                   $150.00
 Total Expenses                                             $412.95

Total Fees and Expenses                                     $74,155.95
  November 15, 2021

  CGPN, LLC
  c/o Big Shoulders Capital Growth LLC
  105 Revere Drive - Suite D
  Northbrook, IL 60062

  Attn:      David Muslin                                               File #: 1945-032
                                                                        Inv #: 151837

  Re:     Aluminum Shapes, L.L.C. Asset Purchase


                                                                               Interim Statement


                                   For Professional Services Rendered

                                                                             Hours
09/29/2021      RAB                                                           2.30     1,621.50

09/30/2021      RAB                                                          14.00     9,870.00

10/01/2021      RAB                                                           3.30     2,326.50

10/02/2021      RAB                                                           1.10         775.50

10/04/2021      RAB                                                           4.30     3,031.50

10/05/2021      RAB                                                           3.20     2,256.00

10/06/2021      RAB                                                           9.30     6,556.50

10/07/2021      RAB                                                           4.70     3,313.50

10/08/2021      RAB                                                           1.30         916.50

10/11/2021      RAB                                                           2.60     1,833.00

10/12/2021      RAB                                                           0.90         634.50

10/13/2021      RAB                                                           0.70         493.50

10/14/2021      RAB                                                           0.90         634.50

10/18/2021      RAB                                                           1.30         916.50

10/19/2021      RAB                                                           0.70         493.50
                                                                Statement Date:   11/15/2021
                                                                         Inv #:       151837
                                                                        File #:     1945.032
       CGPN, LLC                                                       Page #:             2


                                                                       Hours

10/20/2021   RAB                                                         0.60       423.00

10/21/2021   RAB                                                         1.60      1,128.00

10/22/2021   RAB                                                         1.10       775.50

10/23/2021   RAB                                                         2.30      1,621.50

10/24/2021   RAB                                                         0.80       564.00

10/25/2021   RAB                                                         2.30      1,621.50

10/26/2021   RAB                                                         1.40       987.00

10/27/2021   RAB                                                         2.60      1,833.00

10/28/2021   RAB                                                         1.40       987.00

10/29/2021   RAB                                                         2.20      1,551.00

11/01/2021   RAB                                                         2.50      1,762.50

11/02/2021   RAB                                                         1.60      1,128.00

11/03/2021   RAB                                                         1.40       987.00

11/04/2021   RAB                                                         3.70      2,608.50

11/05/2021   RAB                                                         2.60      1,833.00

11/06/2021   RAB                                                         0.90       634.50

11/08/2021   RAB                                                         1.80      1,269.00

11/09/2021   RAB                                                         4.60      3,243.00

11/10/2021   RAB                                                        14.50     10,222.50

11/11/2021   RAB                                                         1.50      1,057.50

11/12/2021   RAB                                                         2.60      1,833.00
                   Total Time Charges                                 104.60      73,743.00

                                                Disbursements

                   Transportation (Subway, Taxi, Train, etc.)                       262.95
                   Court Solutions Telephonic Court Hearings                        150.00
                   Total Disbursements                                              412.95
                                                                             Statement Date:    11/15/2021
                                                                                      Inv #:        151837
                                                                                     File #:      1945.032
CGPN, LLC                                                                           Page #:              3


            Total Amount of this Bill                                                           74,155.95


            Balance Now Due                                                                    $74,155.95

            Please Remit                                                                       $74,155.95




            Wiring Instructions:
            Account of: Cohen Tauber Spievack & Wagner P.C.
            420 Lexington Avenue, Suite 2400
            New York, NY 10170

            Signature Bank
            Account No.: 151015209
            ABA No.: 026013576
            SWIFT CODE (needed for international wires): SIGNUS33

                      420 Lexington Avenue | Suite 2400 | New York, New York 10170
